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|N THE UN|TED STATES DlSTFi|CT COURT l
FOF{ THE WESTEHN D|STR|CT OF. TENNESSEE 35 ' `;` ` 13
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UN|TED STATES OF AMER|CA,
P|aintiff,

VS.
CR. NO. 05-20038-5

JAMEY WASH|NGTON, .JERE|V|Y WASH|NGTON,
MONTE BLAYDE. STON|E F|TZGERALD,
JASON OWENS, W|LL|AN| BROWN,

Detendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the Nlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a @@r_t
date of Thursdav. June 23. 2005, at 2:00 p.m., in Courtroom 1. 11th Floor of the
Federal Building, N|emphis, TN.

The period frorn l\/lay 13, 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this Z.LQ` d Of Apri|, 2005.

    
  

 

 

 

. D N|EL BFtEEN
N| D STATES D|STR|CT JUDGE

 
 
 
 
 

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This notice confirms a copy of the document docketed as number 72 in
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Honorable J. Breen
US DISTRICT COURT

